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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                        MDL No. 2179
       “Deepwater Horizon” in the Gulf                 SECTION: J
       Of Mexico, on April 20, 2010
                                                       JUDGE BARBIER
This Document applies to:
11-274 c/w 11-cv-275                                   MAGISTRATE SHUSHAN




                                           ORDER

       After considering Transocean’s Motion for Leave to File Its Sur-Reply in Opposition to

the BP Parties’ Motion for Judgment on the Pleadings and, being satisfied of good cause shown:

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Transocean’ Motion

for Leave to File Its Sur-Reply to the BP Parties’ Motion for Judgment on the Pleadings is

GRANTED.

       New Orleans, Louisiana, this         day of September, 2011.



                                           _________________________________
                                           THE HONORABLE CARL J. BARBIER
                                           UNITED STATES DISTRICT JUDGE
